     Case 4:22-cv-00304-MW-MAF      Document 189      Filed 06/07/24   Page 1 of 4




                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF FLORIDA
                          TALLAHASSEE DIVISION

LEROY PERNELL, et al.,

        Plaintiffs,

v.                                                Case No.: 4:22-cv-304-MW-MAF
BRIAN LAMB, et al.,

        Defendants.

                                              /

 STIPULATION OF DISMISSAL OF PLAINTIFF MARVIN DUNN AND
BOARD OF TRUSTEES FOR FLORIDA INTERNATIONAL UNIVERSITY

       Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, all

parties in this case stipulate to the voluntary dismissal of Plaintiff Marvin Dunn

and his claims against Rogelio Tovar, Carlos A. Duart, Cesar L. Alvarez, Noël C.

Barengo, Dean C. Colson, Alan Gonzalez, Francis A. Hondal, Natasha Lowell,

Yaffa Popack, T. Gene Prescott, Chanel T. Rowe, Marc D. Sarnoff, each in their

official capacity as a member of the Florida International University Board of

Trustees with prejudice.

                           [continued on following page]
   Case 4:22-cv-00304-MW-MAF           Document 189   Filed 06/07/24   Page 2 of 4




Mr. Dunn and the Florida International University Board of Trustees agree to pay

their own costs and attorneys’ fees.


AMERICAN CIVIL LIBERTIES                    AMERICAN CIVIL LIBERTIES
UNION FOUNDATION OF                         UNION FOUNDATION
FLORIDA, INC.
                                            /s/ Leah Watson
/s/ Jerry Edwards                           Leah Watson*
Jerry Edwards                               125 Broad Street, 18th Floor
Fla. Bar No. 1003437                        New York, NY 10004
933 Lee Road, Suite 102                     (212) 549-2500
Orlando, FL 32810                           lwatson@aclu.org
(786) 363-1107
jedwards@aclufl.org

NAACP LEGAL DEFENSE AND                     BALLARD SPAHR LLP
EDUCATIONAL FUND, INC.
                                            /s/ Jason Leckerman
/s/ Morenike Fajana                         Jason Leckerman*
Morenike Fajana*                            1735 Market Street, 51st Floor
40 Rector Street, 5th Floor                 Philadelphia, PA 19103-7599
New York, NY 10006                          (215) 864-8266
(212) 217-1690                              leckermanj@ballardspahr.com
mfajana@naacpldf.org
                                            †Mailing address only
                                            *Admitted pro hac vice

Counsel for Plaintiffs

COOPER & KIRK PLLC

/s/ Charles J. Cooper
Charles J. Cooper (Bar No. 248070DC)
John D. Ohlendorf (Pro Hac Vice)
Megan M. Wold (Pro Hac Vice) John D.
Ramer (Pro Hac Vice) COOPER &
KIRK, PLLC 1523 New Hampshire
Avenue, N.W. Washington, D.C. 20036

                                           2
   Case 4:22-cv-00304-MW-MAF         Document 189   Filed 06/07/24   Page 3 of 4




Telephone: (202) 220-9600 Facsimile:
(202) 220-9601
ccooper@cooperkirk.com
johlendorf@cooperkirk.com
mwold@cooperkirk.com
jramer@cooperkirk.com

Counsel for:

Defendants Brian Lamb, et al, in their
official capacities as members of the
Florida Board of Governors of the State
University System

Manny Diaz Jr., in his official capacity
as the Commissioner of the Florida
Board of Education

Morteza Hosseini, et al, in their official
capacities as members of the University
of Florida Board of Trustees

William Weatherford, et al, in their
official capacities as members of the
University of South Florida Board of
Trustees

Kevin Lawson, et al, in their official
capacities as members of Florida A&M
Board of Trustees

Peter Collins, et al, in their official
capacities as members of the Florida
State University Board of Trustees

Alex Martins, et al, in their official
capacities as members of the University
of Central Florida Board of Trustees

Counsel for Defendants

                                             3
   Case 4:22-cv-00304-MW-MAF        Document 189      Filed 06/07/24    Page 4 of 4




                         CERTIFICATE OF SERVICE

      I hereby certify that on this 7th day of June 2024, I electronically filed the

foregoing document with the Clerk of the Court using CM/ECF. I also certify that

the foregoing document is being served on all counsel of record via transmission of

Notices of Electronic Filing generated by CM/ECF.


                                                     /s/ Morenike Fajana
                                                     Morenike Fajana




                                          4
